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 3     Los Angeles, California 90024
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 5     Email: tom@kohanlawfirm.com
 6
       Attorneys for Plaintiff
 7
       COASTAL CORPORATION LTD.
 8
 9                             UNITED STATES DISTRICT COURT
10                            CENTRAL DISTRICT OF CALIFORNIA
11                                             CASE NO. 2:22-cv-02687-DSF-JEM
12        COASTAL CORPORATION LTD.             (to be related to 2:22-cv-03173-RSWL-
                                               AS)
13                          Plaintiff
                      vs.
14                                             NOTICE OF RELATED CASES

15        HARVEST KING TRADING USA,
          LIMITED, a California corporation;   [Local Rule 83-1.3]
16        THOMAS JAU, an individual aka
          TOM JAU; LAM LAM, an
17        individual; PAK LAM, an
          individual; DOES 1 THROUGH 10 ,
18        INCLUSIVE

19                          Defendants.

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26                                 NOTICE OF RELATED CASES
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       {02636365.1}
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 1           TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF
 2           RECORD:
 3                  In accordance with Local Rule 83-1.3, Plaintiff COASTAL CORPORATION
 4           LTD. files the instant Notice of Related Cases. The following cases call for a
 5           determination of the same or substantially identical questions of law and fact and
 6           therefore, are likely to entail substantial duplication of labor the judges assigned to
 7           each respective case.
 8
 9        1. RLI Insurance Company v. Harvest King USA, Limited, et al., United States District
10           Court for the Central District of California, Case No. 2:22-cv-03173-RSWL-AS. A
11           copy of the Complaint is attached hereto as Exhibit 1. At issue in this case is the
12           same transaction for sale and shipment of the same container of shrimp by Coastal
13           Corporation Ltd. from India to Los Angeles.
14        2. Coastal Corporation Ltd. v. Harvest King USA, Limited, et al., United States District
15           Court for the Central District of California, Case No. 2:22-cv-02687-DSF-JEM. A
16           copy of the Complaint is attached hereto as Exhibit 2. At issue in this case is the
17           same transaction for sale and shipment of the same container of shrimp by Coastal
18           Corporation Ltd. from India to Los Angeles.
19
20           I.     These Cases Should Be Related Because They Arise out of the Same
21                  Nucleus of Facts and Involve the Same Legal and Factual Issues.
22           Both cases involve the sale of the same shipment of goods by Coastal Corporation
23     Ltd., initially to Harvest King and Harvest King’s failure to pay for the same after it picked
24     up the goods from the port in Los Angeles.
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27                                                   2
28                                       NOTICE OF RELATED CASES
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 1           II.    In the Interest of Judicial Economy, and Consistency, the Two Cases
 2     Should Be Related.
 3           In light of the identical legal issues presented in these cases (see attached
 4     Complaints), Coastal Corporation Ltd. submits that litigating these cases separately will
 5     create a substantial duplication of labor if heard by different judges.            Moreover,
 6     inconsistent rulings regarding the liability of the parties may result. Accordingly, these are
 7     related cases for the purposes of Local Rule 83-1.
 8
 9     Date: February 23, 2023                       Respectfully submitted,
10
                                                     KOHAN LAW FIRM
11
12
13                                             By: /s/ K. Tom Kohan
                                                   K. Tom Kohan, Esq.
14                                                 Attorneys for Plaintiff
15                                                 COASTAL CORPORATION LTD.

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28                                       NOTICE OF RELATED CASES
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 1
                                                 PROOF OF SERVICE
 2                            STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 3       Coastal Corporation Ltd. v. Harvest King Trading USA, Limited, et al., Case No. 2:22-cv-02687-DSF-
                                                           JEM
 4     I am employed in the County of Los Angeles, State of California. I am over the age of eighteen
       (18) and not a party to the within action. My business address is 1310 Westwood Blvd. Los Angeles, CA
 5     90024.
       . On February 23, 2023, I served the forgoing document(s), described as NOTICE OF RELATED
 6     CASES on all interested parties to this action, as follows:
 7     ☒ BY MAIL: By placing ☐ the original ☒ a true and correct copy of said document(s) in a sealed
       envelope(s) addressed as set forth on the service list herein, sealing it, and placing it for collection
 8     and mailing following ordinary business practices. I am readily familiar with the business’ practice
 9     of collection and processing correspondence for mailing with the United States Postal Service
       (USPS). Under that practice, it would be deposited with the USPS in Beverly Hills, California, on
10     that same day with postage thereon fully prepaid in the ordinary course of business. I am aware that
       on motion of party served, service is presumed invalid if postal cancellation date or postage meter
11     date is more than one day after date of deposit for mailing in affidavit.
12     ☐ BY OVERNIGHT MAIL: By placing a true and correct copy of said document(s) in an
       envelope(s) designated by an express service carrier for overnight delivery, with delivery fees and
13     postage prepaid, addressed as set forth on the service list herein, sealing it, and causing it to be
       deposited on that same day in a box or other facility regularly maintained by the carrier.
14
       ☐ BY PERSONAL SERVICE: By placing a true and correct copy of said document(s) in an
15     envelope(s) addressed as set forth on the service list herein, sealing it, and delivering by hand to the
16     addressee(s).
       ☐ BY EMAIL: Under statute, rule or court order, or by agreement, by emailing said document(s) to
17     the person(s) as set forth on the service list herein.
18     ☐ BY FACSIMILE: Under statute, rule or court order, or by agreement, by faxing said document(s)
       to the person(s) as set forth on the service list herein.
19
       ☐ BY NOTICE OF ELECTRONIC FILING (“NEF”): Pursuant to controlling General Order(s)
20     said document(s) will be served by the Court via NEF and hyperlink to the document(s) or by
       electronically filing the document(s) on the Court’s ECF system.
21
       ☐ STATE: I declare under penalty of perjury under the laws of the State of California that
22     the foregoing is true and correct.
23     ☒ FEDERAL: I declare under penalty of perjury under the laws of the UNITED STATES OF
       AMERICA that the foregoing is true and correct.
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27                                                           4
28                                            NOTICE OF RELATED CASES
     Case 2:22-cv-02687-DSF-JEM Document 33 Filed 02/23/23 Page 5 of 39 Page ID #:236



 1
       SERVICE LIST:
 2     Thomas Jau
 3     725 W. Duarte Road, #1581
       Arcadia, CA 91007
 4
       Pak Lam
 5     725 W. Duarte Road, #1581
       Arcadia, CA 91007
 6
 7     Harvest King Trading USA, Limited
       Attn: Thomas Jau
 8     725 W. Duarte Road, #1581
       Arcadia, CA 91007
 9
             DATED: January 17, 2023
10                                                /s/ K. Tom Kohan
11                                                K. Tom Kohan

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28                                         NOTICE OF RELATED CASES
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18                            EXHIBIT 1
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28                                  NOTICE OF RELATED CASES
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 1     Arturo E. Matthews, Jr., Esq. (SBN 145232)
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       Tustin, California 92780
 3     Telephone: (714) 647-7110
       Telecopier: (714) 647-5558
 4     Attorney for Plaintiffs

 5
                                     UNITED STATES DISTRICT COURT
 6                                  CENTRAL DISTRICT OF CALIFORNIA

 7                                                             )
       RLI INSURANCE COMPANY a/s/o Seafood                     )
 8     Doctor, Inc., and SEAFOOD DOCTOR, INC.,                 )
                                                               )         Case No.: 22 Civ. (     )
 9                                   Plaintiffs,               )
                                                               )
10                         - v. -                              )             COMPLAINT
                                                               )
11     HARVEST KING TRADING USA, LIMITED,                      )
       COASTAL CORPORATION, LTD., and ORIENT                   )      JURY TRIAL DEMANDED
12     OVERSEAS CONTAINER LINE LIMITED,                        )
                                                               )
13                                   Defendants.               )
                                                               )
14
                     Plaintiffs, RLI Insurance Company, Inc. (“RLI”), and Seafood Doctor, Inc.
15
       (“Seafood”), by and through their attorneys, Matthews Law Firm, Inc. and Kennedy Lillis
16
       Schmidt & English, allege upon information and belief as follows:
17
                                              INTRODUCTION
18
                     1.       This action arises from the non-delivery and theft of a shipment of thirty-
19
       five thousand (35,000) pounds of frozen shrimp (“Cargo”), owned by Seafood and insured by
20
       RLI, sold to Seafood by Coastal Corporation, Ltd. (“Coastal”), tendered for shipment to Orient
21
       Overseas Container Line Limited (“OOCL”), and stolen by Harvest King Trading USA, Limited
22
       (“Harvest King”).
23

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 1                                                 PARTIES

 2                    2.      Seafood was and is an Oregon corporation with an office for the transaction

 3     of business at 4848 Airway Drive, Central Point, Oregon 97502.

 4                    3.      Seafood is an importer and wholesaler of frozen seafood products.

 5                    4.      Seafood owned the Cargo.

 6                    5.      RLI was and is an Illinois corporation with an office for the transaction of

 7     business at 9025 North Lindbergh Drive, Peoria, Illinois 61615.

 8                    6.      RLI insured the Cargo, paid Seafood’s losses resulting from the incident

 9     detailed herein, and is thereby subrogated to Seafood’s rights to the extent of that payment.

10                    7.      Seafood and RLI bring this action on their own behalves and as agents or

11     trustees on behalf of all having an interest in the subject shipment.

12                    8.      Coastal was and is an India corporation with an office for the transaction

13     of business at 15-1-37/3, Jayaprada Apartments, Nowroji Road, Maharanipeta, Visakhapatnam-

14     530 002, Andhra Pradesh, India.

15                    9.      Coastal is an India-based producer, distributor, and exporter of frozen

16     seafood products.

17                    10.     Coastal sold the Cargo to Seafood and arranged for its transport from India

18     to the Port of Los Angeles.

19                    11.     Harvest King was an is a California corporation with an office for the

20     transaction of business at 725 West Duarte Road, #1581, Arcadia, California 91077.

21                    12.     Harvest King is a foodstuffs importer and distributer who absconded with

22     the Cargo upon its arrival at the Port of Los Angeles.

23                    13.     OOCL was and is a Hong Kong corporation with an office for the

24     transaction of business at 31/F, Harbour Centre, 25 Harbour Road, Wanchai, Hong Kong, China.
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 1                     14.     OOCL is the ocean carrier that transported the Cargo under Bill of Lading

 2     No. OOLU2674887940, dated 27 July 2021 (“Bill of Lading”).

 3                                        JURISDICTION & VENUE

 4                     15.     Plaintiffs’ claims arising under the Carriage of Goods by Sea Act, 46

 5     U.S.C. App. § 1303 (“COGSA”), constitute admiralty or maritime claims within the meaning of

 6     Rule 9(h) of the Federal Rules of Civil Procedure and fall within the admiralty and maritime

 7     jurisdiction of the United States and of this Honorable Court pursuant to 28 U.S.C. § 1333(1).

 8                     16.     This Honorable Court has subject matter jurisdiction over Plaintiffs’

 9     claims arising under state law pursuant to 28 U.S.C. § 1332 because this is an action between

10     parties of diverse citizenship, and the amount in controversy exceeds $75,000, exclusive of

11     interest and costs.

12                     17.     This Honorable Court has personal jurisdiction over Defendants, and

13     venue is proper pursuant to 28 U.S.C. § 1391(b)(2), because Defendants’ acts or omissions giving

14     rise to the claim occurred within this judicial district.

15                                               BACKGROUND

16                     18.     On or about 28 April 2021, Harvest King agreed to purchase the Cargo

17     from Coastal for $126,000.00 ($3.60/lb. x 35,000 lbs.) under CY/CY shipping terms, pursuant to

18     which Coastal was responsible for arranging the Cargo’s ocean carriage from its facility in

19     Visakhapatnam, India to the Port of Los Angeles.

20                     19.     Under the terms of the agreement, once the shipment arrived at the Port of

21     Los Angeles and was cleared by the U.S. Food and Drug Administration (“FDA”), Harvest King

22     would wire the agreed purchase price to Coastal prior to Coastal releasing the Cargo to Harvest

23     King.

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 1                  20.     Coastal hired ocean carrier OOCL to carry the Cargo from the Port of

 2   Visakhapatnam to the Port of Los Angeles.

 3                  21.     Coastal issued to Harvest King all necessary documents associated with

 4   the Cargo’s purchase and shipment, including a Purchase Order, Commercial Invoice, Packing

 5   List, Certificate of Origin, and U.S. Department of State Shrimp Exporter’s/Importer’s

 6   Declaration, each of which listed Harvest King as consignee of the Cargo.

 7                  22.     On 27 July 2021, OOCL accepted the Cargo at the Port of Visakhapatnam,

 8   agreed to carry it to the Port of Los Angeles, and issued the Bill of Lading – which likewise listed

 9   Harvest King as consignee of the Cargo – to cover the subject shipment.

10                  23.     Both the Purchase Order and Commercial Invoice that Coastal issued to

11   Harvest King memorialized the payment terms specified in Paragraph 18, supra, namely that

12   Harvest King was obligated to pay Coastal in full after the FDA cleared the Cargo and prior to

13   Coastal releasing the Cargo to Harvest King.

14                  24.     Specifically, the Purchase Order stated “PAYMENT AFTER FDA

15   PASSAGE,” and the Commercial Invoice stated “PAYMENT BY [HARVEST KING] UPON

16   FDA RELEASE AND BEFORE DELIVERY OF THE GOODS.”

17                  25.     However, while the Cargo was en route, Harvest King advised Coastal that

18   it would not remit payment until Coastal released the Cargo, so that Harvest King could pick up

19   the Cargo and bring it to Harvest King’s facility in Arcadia for inspection prior to payment.

20                  26.     Coastal did not accept Harvest King’s attempt to alter the agreed-upon

21   payment terms and advised Harvest King that it was cancelling the sale.

22                  27.     Coastal then approached Seafood to purchase the Cargo, and Seafood

23   agreed to do so for the same purchase price of $126,000.00 and under the same payment terms,

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 1   namely that Seafood shall remit payment upon clearance of the Cargo by the FDA as a

 2   precondition to Coastal releasing it to Seafood.

 3                  28.     Coastal issued to Seafood a revised Commercial Invoice, Packing List,

 4   Certificate of Origin, and U.S. Department of State Shrimp Exporter’s/Importer’s Declaration, to

 5   reflect Seafood as the purchaser and consignee of the Cargo.

 6                  29.     Coastal then advised OOCL that Seafood – and not Harvest King – was

 7   now the consignee of the Cargo.

 8                  30.     OOCL, in turn, revised the Bill of Lading by removing Harvest King and

 9   adding Seafood as the consignee.

10                  31.     Accordingly, the prior versions of the Bill of Lading and documents

11   referenced in paragraph 21 listing Harvest King as the consignee became null and void.

12                  32.     On 6 October 2021, the Cargo arrived at the Port of Los Angeles and was

13   cleared by U.S. Customs and the FDA on or about 10 October 2021.

14                  33.     Thereafter, OOCL sent an Arrival Notice to Seafood indicating that the

15   Cargo had cleared and was ready for pick up.

16                  34.     Accordingly, Seafood wired the $126,000.00 purchase price to Coastal.

17                  35.     However, on the morning of 11 October 2021, before Seafood was able to

18   collect it, Harvest King picked up the Cargo at the Port of Los Angeles – by presenting the Bill

19   of Lading and/or other shipping documents referenced in paragraph 21 listing Harvest King as

20   the consignee, which Harvest King knew to be null and void – and absconded with it to Harvest

21   King’s facility in Arcadia.

22                  36.     On 11 October 2021, the wholesale market value of the Cargo was

23   approximately $157,500.00 ($4.50/lb x 35,000 lbs).

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 1                    37.      Seafood demanded that Harvest King either return the Cargo or pay

 2   Seafood $136,500.00, a slight premium on the $126,000.00 purchase price intended to partially

 3   compensate Seafood for its loss of profits on the market value of the Cargo.

 4                    38.      However, Harvest King refused to remit payment to Seafood or to return

 5   the Cargo.

 6                    39.      Coastal likewise refused to refund Seafood the $126,000.00 purchase price

 7   despite non-delivery of the Cargo.

 8                    40.      As a result, Seafood suffered losses totaling $157,500.00 in damages, as

 9   nearly as can now be determined.

10                    41.      Seafood submitted a claim to RLI for its losses, and RLI paid Seafood

11   $137,600 to settle the claim. RLI thereby became subrogated Seafood’s rights to the extent of

12   that payment.

13                    42.      Seafood retains uninsured losses totaling approximately $19,000.00, the

14   difference between the market value of the Cargo and the insurance settlement received from RLI.

15                    FIRST CAUSE OF ACTION AGAINST HARVEST KING:
                     CIVIL THEFT UNDER CALIFORNIA PENAL CODE § 496(c)
16
                      43.      Paragraphs 1 through 42 are incorporated by reference as though fully set
17
     forth at length herein.
18
                      44.      California Penal Code section 496(a) prohibits “buy[ing] or receiv[ing] any
19
     property that has been stolen or that has been obtained in any manner constituting theft or
20
     extortion, knowing the property to be so stolen or obtained . . . .” Cal. Penal Code § 496(a)
21
     (emphasis added). Section 496(a) applies equally to any “principal in the actual theft of the
22
     property.” Id.
23

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 1                  45.     Under Penal Code section 496(c), “[a]ny person who has been injured by

 2   a violation of subdivision (a) . . . may bring an action for three times the amount of actual

 3   damages, if any, sustained by the plaintiff, costs of suit, and reasonable attorney’s fees.” Cal.

 4   Penal Code § 496(c) (emphasis added).

 5                  46.     “A criminal conviction is not a prerequisite to recovery of treble damages.

 6   All that is required is a ‘violation’ of subdivision (a) . . . .” Switzer v. Wood, 35 Cal. App. 5th

 7   116, 126 (Cal. Ct. App. 2019).

 8                  47.     In Penal Code section 484(a), California “consolidate[d] the . . . crimes

 9   known as larceny, embezzlement and obtaining property under false pretenses, into one crime,

10   designated as theft. The basis of all of these crimes . . . is the unlawful taking or converting to

11   one’s own use of the property of another.” People v. Vidana, 1 Cal. 5th 632, 640–41 (Cal. 2016)

12                  48.     Specifically, section 484(a) provides that “[e]very person who shall

13   feloniously steal, take, carry, lead, or drive away the personal property of another, . . . or who

14   shall knowingly and designedly, by any false or fraudulent representation or pretense, defraud

15   any other person of money . . . or personal property, is guilty of theft.” Cal. Penal Code § 484(a)

16   (emphasis added). “In determining the value of the property obtained, for the purposes of this

17   section, the reasonable and fair market value shall be the test[.]” Id.

18                  49.     Thus, in providing for treble damages under section 496(a), the California

19   Legislature “understood that the phrase ‘a violation of subdivision (a)’ would include theft by

20   false pretense.” Bell v. Feibush, 212 Cal. App. 4th 1041, 1048 (Cal. Ct. App. 2013).

21                  50.     Harvest King committed theft by false pretense in violation of section

22   484(a) by fraudulently presenting the Bill of Lading and/or other documents referenced in

23   paragraph 21 inaccurately listing Harvest King as consignee of the Cargo – all of which Harvest

24   King knew to be null and void after Coastal cancelled the sale – to agents at the Port of Los
                                                     7

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 1   Angeles with the intention of defrauding said agents to release the Cargo to Harvest King, and

 2   then absconding with the Cargo when said agents, in reliance on the false documents, released it

 3   to Harvest King.

 4                  51.        As such, Harvest King obtained the Cargo in a “manner constituting theft”

 5   in violation of Penal Code section 496(a).

 6                  52.        Seafood, having paid Coastal in full, was the rightful owner of the Cargo

 7   at the time of the theft and, therefore, suffered injury as a result of Harvest King’s theft.

 8                  53.        As a direct and proximate cause of Harvest King’s theft of the Cargo,

 9   Plaintiffs sustained damages, as nearly as can be determined, no part of which has been paid

10   although duly demanded, in the sum of $157,500.00.

11                  54.        Under Penal Code section 496(c), Plaintiffs are entitled to recover from

12   Harvest King treble damages totaling $472,500.00.

13                  SECOND CAUSE OF ACTION AGAINST HARVEST KING:
                                    CONVERSION
14
                    55.        Paragraphs 1 through 54 are incorporated by reference as though fully set
15
     forth at length herein.
16
                    56.        Seafood was and is the rightful owner of the Cargo, having paid Coastal in
17
     full upon the Cargo’s arrival and clearance at the Port of Los Angeles.
18
                    57.        Harvest King intentionally and substantially interfered with Seafood’s
19
     rights to the Cargo by absconding with it at the Port of Los Angeles, carrying it to Harvest King’s
20
     facility in Arcadia, and refusing to return it to Seafood.
21
                    58.        Seafood did not consent in any manner to Harvest King’s taking of the
22
     Cargo.
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 1                  59.        As a direct and proximate cause of Harvest King’s conversion of the Cargo,

 2   Plaintiffs sustained damages, as nearly can now be determined, no part of which has been paid

 3   although duly demanded, in the sum of $157,500.00.

 4                         FIRST CAUSE OF ACTION AGAINST COASTAL:
                                    BREACH OF CONTRACT
 5
                    60.        Paragraphs 1 through 59 are incorporated by reference as though fully set
 6
     forth at length herein.
 7
                    61.        Seafood entered into a valid and enforceable contract with Coastal to
 8
     purchase the Cargo.
 9
                    62.        Under that contract, Coastal was obligated to release and deliver the Cargo
10
     to Seafood upon Seafood’s payment of the agreed $126,000.00 purchase price after the Cargo
11
     arrived at the Port of Los Angeles and was cleared by the FDA.
12
                    63.        Seafood performed all its obligations under the contract by, inter alia,
13
     paying Coastal the agreed purchase price of $126,000.00 when the Cargo arrived at the Port of
14
     Angeles and was cleared by the FDA.
15
                    64.        Coastal breached the contract by failing to deliver the Cargo to Seafood.
16
                    65.        As a direct and proximate cause of Coastal’s breach of its contract with
17
     Seafood, Plaintiffs sustained damages, as nearly as can now be determined, no part of which has
18
     been paid although duly demanded, in the sum of $157,500.00.
19
                            FIRST CAUSE OF ACTION AGAINST OOCL:
20                        BREACH OF CONTRACT OF OCEAN CARRIAGE

21                  66.        Paragraphs 1 through 65 are incorporated by reference as though fully set

22   forth at length herein.

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 1                 67.     As ocean carrier of goods for hire, OOCL was obligated by COGSA and

 2   the terms of the Bill of Lading to properly and safely transport, handle, carry, keep, care for,

 3   discharge, and deliver the Cargo in the same good order and condition as when received by it.

 4                 68.     OOCL breached those duties by failing to deliver the Cargo in the same

 5   good order and condition as when received by it, and instead allowing Harvest King to abscond

 6   with it.

 7                 69.     As a direct and proximate cause of OOCL’s breach of its duties under

 8   COGSA and the terms of the Bill of Lading, Plaintiffs sustained damages, as nearly can now be

 9   determined, no part of which has been paid although duly demanded, in the sum of $157,500.00.

10

11                 WHEREFORE, Plaintiffs demand judgment in their favor as follows:

12                 1.      Against all Defendants in a principal amount of $157,500.00, plus interest,

13                         costs, and disbursements;

14                 2.      Against Harvest King in the treble amount of $472,500.00, plus interest,

15                         costs, disbursements, and reasonable attorney’s fees; and

16                 3.      For such other and further relief as this Court may deem just and proper.

17

18   Dated: May 10, 2022                  MATTHEWS LAW FIRM, INC.

19
                                                 By:    s/ Arturo E. Matthews, Jr.
20                                                     Arturo E. Matthews, Jr.,
                                                       Attorney for Plaintiffs
21

22

23

24
                                                        10

                                                   COMPLAINT
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20                        EXHIBIT 2
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26                           NOTICE OF RELATED CASES
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 3   Los Angeles, California 90067
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     Fax: (888) 476-7010
 5   Email: tom@kohanlawfirm.com
 6
     Attorneys for Plaintiff
 7
     COASTAL CORPORATION LTD.
 8
 9                           UNITED STATES DISTRICT COURT
10                          CENTRAL DISTRICT OF CALIFORNIA
11                                           CASE NO.
12      COASTAL CORPORATION LTD.
                                             COMPLAINT FOR:
13                        Plaintiff          1. BREACH OF CONTRACT
                    vs.
                                             2. OPEN BOOK ACCOUNT
14                                           3. ACCOUNT STATED
15      HARVEST KING TRADING USA,            4. UNJUST ENRICHMENT-
        LIMITED, a California corporation;
        THOMAS JAU, an individual aka        QUANTUM MERUIT
16      TOM JAU; LAM LAM, an                 5. CONVERSION
17      individual; PAK LAM, an
        individual; DOES 1 THROUGH 10 ,      6. TRESSPASS TO CHATTEL
18      INCLUSIVE
                          Defendants.        JURY TRIAL DEMANDED
19
20
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28                                      COMPLAINT
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 1         Plaintiff COASTAL CORPORATION LTD. (“Plaintiff” or “Coastal”) hereby
 2
     complains against Defendants HARVEST KING TRADING USA, LIMITED, a
 3
 4   California corporation (“Harvest”); THOMAS JAU, an individual aka TOM JAU (“Jau”),

 5   LAM LAM, an individual (“Lam”), PAK LAM, an individual (“Pak”) and DOES 1
 6
     through 10, inclusive (collectively with the aforementioned Defendants, the
 7
 8   “Defendants”), and alleges as follows:
 9                                 NATURE OF THIS ACTION
10
           1. Plaintiff brings this action for the acts of breach of contract and common counts,
11
12   as well as conversion and trespass to chattel by Defendants for goods provided to them,
13   but not paid for.
14
                                              PARTIES
15
16         2. Plaintiff is a corporation incorporated under the laws of India and
17   having its principal place of business in India.
18
           3. Defendant Harvest is a corporation organized under the laws of California and
19
20   having its principal place of business in Los Angeles County.
21         4. Defendant Jau is an individual, who is and at all times mentioned herein was, on
22
     information and belief, a citizen of California, with his place of residence in Los Angeles
23
24   County.
25
26
27                                                 1
28                                      COMPLAINT FOR DAMAGES
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 1         5. Defendant Lam is an individual, who is and at all times mentioned herein was,
 2
     on information and belief, a citizen of California, with his place of residence in Los
 3
 4   Angeles County.

 5         6. Defendant Pak is an individual, who is and at all times mentioned herein was,
 6
     on information and belief, a citizen of California, with his place of residence in Los
 7
 8   Angeles County
 9         7. On information and belief, Defendants Jau, Pak, and Lam, are, and at all times
10
     herein mentioned were, shareholders and/or officers and/or directors of Harvest.
11
12         8. Plaintiff is informed and believes, and thereon alleges, that the actions
13   and omissions that serve as the basis for this complaint were undertaken jointly and
14
     with the consent, conspiracy, cooperation, and joint participation of all defendants.
15
16         9. Plaintiff is informed and believes, and thereon alleges, that at all times
17   mentioned herein, each defendant was the agent, joint venture, and/or employee of
18
     each and every other defendant, and in doing the things alleged in this complaint, each
19
20   defendant was acting within the course and scope of such agency, joint venture, and/or
21   employment and with the permission and consent of each of the other defendants.
22
            10. The true names and capacities, whether individual, corporate, associate,
23
24   or otherwise, of Defendants named herein as DOES 1 through 10, inclusive, and each
25   of them, are unknown to Plaintiff at this time. Plaintiff therefore sues said Defendants,
26
     and each of them, by such fictitious names. Plaintiff will advise the Court and seek
27
                                                 2
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 1   leave to amend this Complaint when the true names and capacities of each such
 2
     Defendant has been ascertained. Plaintiff is informed and believes, and based thereon
 3
 4   alleges, that each such Defendant designated as a DOE is responsible in some manner

 5   for the events and happenings referred to herein or as hereinafter specifically alleged.
 6
                                  JURISDICTION AND VENUE
 7
 8         11. The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332,
 9   as there is diversity of citizenship between the parties, and the amount in controversy
10
     exceeds $75,000, exclusive of interest and costs.
11
12         12. Venue is proper under 28 U.S.C § 1391(b)(2) because a substantial part
13   of the events or omissions giving rise to the claims occurred in this district.
14
                                     ALTER EGO LIABILITY
15
16         13. Plaintiff is informed and believes, and thereon alleges, that at all relevant
17   times, there existed a unity of interest and ownership between Harvest and each
18
     of Defendants Jau, Lam, and Pak, such that any individuality or separateness between
19
20   such Defendants, and each of them, on the one hand, and Harvest, on the other, have
21   ceased. Harvest is the alter ego of such Defendants in that:
22
           a. Harvest is, and at all relevant times was, a mere shell, instrumentality, and
23
24   conduit through which such Defendants carried on business in the name of Harvest while
25   exercising complete control and dominance over Harvest, its business, and its assets to
26
27
                                                   3
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 1   such an extent that any individuality or separateness between Harvest and such
 2
     Defendants did not exist.
 3
 4          b. Harvest was conceived, intended, and used by such Defendants

 5   as a device to avoid liability. Harvest is, and at all times herein mentioned was, so
 6
     inadequately capitalized that, compared with the business to be done by Defendants and
 7
 8   the risks of loss, its capitalization was illusory and trifling.
 9          c. Defendants failed to keep arms-length relationships between themselves
10
     and Harvest.
11
12          d. Harvest is, and at all times herein mentioned was, controlled, dominated, and
13   operated by such Defendants, and each of them, as their alter ego, in that the activities
14
     and business of Harvest were carried out without holding annual meetings, and without
15
16   keeping records or minutes of any proceedings, or maintaining written resolutions.
17          14. Adherence to the fiction of the separate existence of Harvest and
18
     remaining Defendants would permit an abuse of the corporate privilege and would
19
20   sanction fraud, promote injustice, and otherwise aid in the commission of unlawful
21   conduct. This is true because, as Plaintiff is informed and believes, at all relevant
22
     times, Defendants were commingling assets in a manner that allowed Defendants to
23
24   utilize and freely transfer those assets amongst themselves. The commingling of assets
25   and unlawful business conduct, as alleged more fully herein, by Defendants through
26
27
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 1   this shell entity, Harvest, was intended, among other things, to allow Defendants to avoid
 2
     liability to Plaintiff for valid obligations. Plaintiff is informed and believes, and thereon
 3
 4   alleges, that at all relevant times, there existed a unity of interest and ownership between

 5   each and every Defendant such that any individuality or separateness between each and
 6
     every Defendants has ceased. Defendants are the alter egos of one another in that
 7
 8   Defendants carried on their activities and business together, with an agreement to share in
 9   the profits and spoils of their fraudulent activities and business.
10
                              FACTS COMMON TO ALL COUNTS
11
12         15.    On or about April 28, 2021, Coastal and Harvest entered into two contracts
13   wherein Coastal agreed to sell shrimp to Harvest. The terms of the agreements were
14
     memorialized in two performa invoices issued by Coastal and corresponding two
15
16   purchase orders issued by Harvest and are as follows: 35,000 pounds of shrimp to be
17   delivered container yard to container yard at the price of $3.60 per pound for the total
18
     purchase price of $126,000.00; payment by Harvest to be made “after FDA passage and
19
20   before delivery.” Other than the date of delivery, the two performa invoices and purchase
21   orders are identical. The first shipment was to take place in June 2021 (“First Shipment”)
22
     and the second shipment was to take place in July 2021 (“Second Shipment”). Attached
23
24   hereto as Exhibit 1 is the performa invoice reflecting the June 2021 shipment and its
25   corresponding purchase order #23660. Attached hereto as Exhibit 2 is the performa
26
     invoice reflecting the July 2021 shipment and its corresponding purchase order #23661.
27
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 1         16.    The First Shipment arrived as scheduled at the container yard in Los
 2
     Angeles and Harvest was informed of the FDA approval. Pursuant to the written
 3
 4   agreements, Coastal demanded payment before releasing the goods to Harvest. Harvest

 5   failed to make payments. Accordingly, Coastal informed Harvest that it would not
 6
     release the goods to Harvest absent payment. To mitigate its damages, Coastal found a
 7
 8   third party buyer, namely Seafood Doctor, for the goods and sold the goods to Seafood
 9   Doctor. Seafood Doctor made payment to Coastal and was ready to pick up the goods
10
     from the container yard. However, before Seafood Doctor was able to pick up the goods
11
12   from the container yard, Harvest went ahead and picked up the First Shipment from the
13   container yard anyway.
14
           17. Discussions among the parties ensued and finally the parties were able to reach
15
16   a resolution regarding the First Shipment when Harvest agreed to reimburse Seafood
17   Doctor. Accordingly, the First Shipment is not at issue in this action.
18
           18.    Subsequently, while the Second Shipment was on route, Coastal attempted
19
20   to make certain that it will not face a similar scenario as the First Shipment; i.e., that
21   Harvest would make payment before release of the goods to them. When Harvest
22
     indicated its unwillingness to do so, Coastal informed Harvest that Harvest is in
23
24   anticipatory breach of their agreement and informed Harvest that it would not release the
25   Second Shipment to Harvest. Again, to mitigate its damages, Coastal sold the Second
26
     Shipment of goods to Seafood Doctor.
27
                                                    6
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 1         19.    The Second Shipment arrived as scheduled, and again, Seafood Doctor was
 2
     ready to pick it up. However, again, Harvest, knowing the shipping details, such as the
 3
 4   bill of lading number and container number, had the Second Shipment picked up from the

 5   container yard without Coastal’s consent whatsoever. However, this time, Harvest has
 6
     failed to pay for the Second Shipment whatsoever.
 7
 8                                 FIRST CAUSE OF ACTION
 9                     BY PLAINTIFF AGAINST ALL DEFENDANTS
10
                                       (Breach of Contract)
11
12         20.    Plaintiff realleges and incorporates herein by reference each and every
13   allegation contained in the preceding paragraphs.
14
            21.   On or about June 26, 2019 and thereon, Plaintiff and Harvest, and Does 1
15
16   through 10, inclusive, and each of them, conducted certain business transactions with
17   each other wherein Plaintiff delivered certain shrimp products to said Defendants, and
18
     each of them. Defendants Harvest, and Does 1 through 10, inclusive, and each of them,
19
20   took possession from Plaintiff of Plaintiff’s goods. However, said Defendants have failed
21   (to date) to make payment to Plaintiff for said goods, leaving a principal balance of
22
     $126,000.00 still due and owing to Plaintiff for said goods. Attached hereto as Exhibit 2
23
24   is the performa invoice reflecting the July 2021 shipment and its corresponding purchase
25   order #23661, which constitutes the contract among the parties, and is hereby
26
     incorporated herein fully by reference.
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 1          22.   Pursuant to the terms of the agreements of the parties, Harvest, and Does 1
 2
     through 10, inclusive, and each of them, were to pay the above-mentioned sum to
 3
 4   Plaintiff.

 5          23.   Plaintiff has performed all the terms and conditions on its part to be
 6
     performed under the above-mentioned agreements, except for such terms and conditions
 7
 8   as have been excused by the conduct and breaches of Defendants Harvest, and Does 1
 9   through 10, inclusive, and each of them, if any.
10
            24.   Harvest, and Does 1 through 10, inclusive, and each of them, breached the
11
12   above-referenced agreements by failing to pay the sum of $126,000.00. As a direct,
13   proximate, and foreseeable consequence of the above-referenced breaches by Defendants
14
     Harvest, and Does 1 through 10, inclusive, and each of them, Plaintiff has been damaged
15
16   in the principal sum of $126,000.00
17          25.   Plaintiff also seeks recovery from said Defendants, and each of them,
18
     together with interest thereon at the legal rate from the date(s) of breach through the date
19
20   of judgment herein, pursuant to the agreements, in a sum to be determined according to
21   proof, and attorneys’ fees, and costs of suit incurred herein according to proof.
22
            26.   Pursuant to the alter ego allegations herein, Defendants Lau, Pak, Lam and
23
24   Does 6–10 are jointly and severally liable for the obligations of Harvest, as described
25   herein above.
26
27
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 1                                SECOND CAUSE OF ACTION
 2
                        BY PLAINTIFF AGAINST ALL DEFENDANTS
 3
 4                                     (Open Book Account)

 5         27.    Plaintiff realleges and incorporates herein by reference each and every
 6
     allegation contained in the preceding paragraphs.
 7
 8         28.    Plaintiff alleges that Defendants Harvest, and Does 1 through 5, inclusive,
 9   and each of them, became indebted to Plaintiff within the last four years on an open book
10
     account for money due for goods delivered to said Defendants, for which said
11
12   Defendants, and each of them, owe Plaintiff the sum of $126,000.00.
13         29.    Neither the whole nor any part of the above-referenced sum has been paid to
14
     Plaintiff by Defendants, and each of them, despite Plaintiff’s demand therefor, and there
15
16   is now due, owing, and unpaid to Plaintiff the sum of $126,000.00, together with interest
17   thereon at the legal rate from the date(s) payments fell due through the date of judgment
18
     herein in a sum to be determined according to proof. Plaintiff further seeks recovery
19
20   herein from said Defendants, and each of them, of costs of suit incurred herein according
21   to proof, and of attorneys’ fees incurred herein according to proof, pursuant to California
22
     Civil Code § 1717.5.
23
24         30. Pursuant to the alter ego allegations herein, Jau, Lam, Pak and Does 6–10 are
25   jointly and severally liable for the obligations of Harvest.
26
27
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 1                                THIRD CAUSE OF ACTION –
 2
                        BY PLAINTIFF AGAINST ALL DEFENDANTS
 3
 4                                        (Account Stated)

 5         31.    Plaintiff realleges and incorporates herein by reference each and every
 6
     allegation contained in the preceding paragraphs.
 7
 8         32.    Plaintiff alleges that Defendants Harvest and Does 1 through 5, inclusive,
 9   and each of them, became indebted to Plaintiff within the last four years because an
10
     account was stated for money due from said Defendants, and each of them, to Plaintiff in
11
12   the sum of $126,000.00 for goods delivered by Plaintiff to said Defendants.
13         33.    Neither the whole nor any part of the above-referenced sum has been paid to
14
     Plaintiff by Defendants despite Plaintiff’s demand therefor, and there is now due, owing,
15
16   and unpaid to Plaintiff the sum of $126,000.00 together with interest thereon at the legal
17   rate from the date(s) payments fell due through the date of judgment herein in a sum to be
18
     determined according to proof. Plaintiff further seeks recovery herein from said
19
20   Defendants, and each of them, of costs of suit incurred herein according to proof, and of
21   attorneys’ fees incurred herein according to proof, pursuant to California Civil Code §
22
     1717.5.
23
24         34.    Pursuant to the alter ego allegations herein, Jau, Lam, Pak and Does 1–6 are
25   jointly and severally liable for the obligations of Harvest.
26
27
                                                  10
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 1                               FOURTH CAUSE OF ACTION –
 2
                        BY PLAINTIFF AGAINST ALL DEFENDANTS
 3
 4                     (UNJUST ENRICHMENT-QUANTUM MERUIT)

 5         35.    Plaintiff realleges and incorporates herein by reference each and every
 6
     allegation contained in the preceding paragraphs.
 7
 8         36.    As described above, Harvest expressly requested that Coastal provide certain
 9   goods, namely shrimp, for its benefit.
10
           37.    Coastal performed its obligations and provided the goods as requested by
11
12   Harvest and Harvest is in receipt of the goods.
13         38.    Harvest has not paid Coastal for the value of the good received.
14
           39.    The negotiated minimum value and reasonable value of the goods received
15
16   by Harvest is $126,000.00. Plaintiff therefore seeks recovery herein from Defendants
17   and each of them, of said reasonable value of said goods in the sum of $126,000.00,
18
     together with interest thereon at the legal rate from the date(s) payments fell due through
19
20   date of judgment herein in a sum to be determined according to proof.
21         40.    Pursuant to the alter ego allegations herein, Jau, Lam, Pak and Does 1–6 are
22
     jointly and severally liable for the obligations of Harvest.
23
24
25
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                                                  11
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 1                                FIFTH CAUSE OF ACTION –
 2
                        BY PLAINTIFF AGAINST ALL DEFENDANTS
 3
 4                                         (CONVERSION)

 5         41. Plaintiff realleges and incorporates herein by reference each and every
 6
     allegation contained in the preceding paragraphs.
 7
 8         42. At all times relevant hereto, Plaintiff was and still is the rightful owner,
 9   and was and still is entitled to the possession and use, of its Personal Property
10
     amounting to $126,000.00 (the “Personal Property”).
11
12         43. As alleged herein, Harvest, Jau, Pak, Lam and Does 1 through 10, inclusive,
13   obtained dominion and control over Plaintiff’s Personal Property when they picked up the
14
     Personal Property, or caused the same to be picked up from the container yard without
15
16   Plaintiff’s consent.
17         44. As alleged herein, Plaintiff has not received payment for its Personal Property,
18
     nor at the time of the filing of this complaint, has received back the Personal Property. As
19
20   such, Harvest, Jau, Pak, Lam and Does 1 through 10 owe Plaintiff the return of its
21   Personal Property or value thereof.
22
           45. Harvest , Jau, Pak, Lam and Does 1 through 10 have retained wrongful
23
24   possession of Plaintiff’s Personal Property and have refused and continue to refuse to
25   return Plaintiff’s Personal Property or pay the value thereof despite numerous demands
26
     from Plaintiff.
27
                                                  12
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 1          46. As a direct and proximate result of the foregoing conversion and theft,
 2
     Plaintiff has been severely harmed and has suffered significant damages within this
 3
 4   Court’s jurisdiction in an amount to be proven at trial but in no event less than

 5   $126,000.00.
 6
            47. Plaintiff is informed and believes, and on such information and belief
 7
 8   alleges, that in doing and committing the conversion and theft set forth above,
 9   Defendants acted with malice, ill will, and with the intent and design of harming
10
     Plaintiff, for which Plaintiff is entitled to a punitive damages award against
11
12   Defendants.
13                                   SIXTH CAUSE OF ACTION
14
                          BY PLAINTIFF AGAINST ALL DEFENDANTS
15
16                                       (Tresspass to Chattel)
17          48.      Plaintiff realleges and incorporates herein by reference each and every
18
     allegation contained in the preceding paragraphs.
19
20          49.      Defendants knew or should have known that the Personal Property belonged
21   to Plaintiff.
22
            50.      As alleged herein above, Harvest, Jau, Lam, Pak, and Does 1-10, without
23
24   Plaintiff’s consent, picked up the Personal Property or caused the same to be picked up
25   from the container yard and have yet to return the Personal Property or pay the value
26
     thereof.
27
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 1         51.     Plaintiff suffered, and continues to suffer, damages including, but not limited
 2
     to the Personal Property and value thereof, in an amount within the jurisdictional limits of
 3
 4   this court, in an amount to be proven at trial, but no less than $126,000.00.

 5         52.     The conduct of Harvest and Does 1-5 was a substantial factor in causing
 6
     Plaintiff’s harm.
 7
 8         53. As a direct and proximate result of the foregoing conversion and theft,
 9   Plaintiff has been severely harmed and has suffered significant damages within this
10
     Court’s jurisdiction in an amount to be proven at trial but in no event less than
11
12   $126,000.00.
13         54. Plaintiff is informed and believes, and on such information and belief
14
     alleges, that in doing and committing the conversion and theft set forth above,
15
16   Defendants acted with malice, ill will, and with the intent and design of harming
17   Plaintiff, for which Plaintiff is entitled to a punitive damages award against
18
     Defendants.
19
20                                  PRAYER(S) FOR RELIEF
21         WHEREFORE, Plaintiff prays for judgment against Defendants, and each of
22
     them, as follows:
23
24         1. For damages within this Court’s jurisdiction in an amount according to
25   proof at trial but in no event less than $126,000.00;
26
           2. For consequential damages;
27
                                                  14
28
                                     COMPLAINT FOR DAMAGES
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 1         3. For pre-judgment and post-judgment interest on all damages awarded;
 2
           4. For attorneys’ fees and costs of suit incurred herein according to proof;
 3
 4         5. For punitive damages in an amount appropriate to punish Defendants and

 5   deter others from engaging in similar misconduct, for Counts Five and Six;
 6
           6. For such other and further relief as the Court may deem just and proper
 7
 8   DATED: April 22, 2022                   Respectfully submitted,
 9
10                                           KOHAN LAW FIRM

11                                               /s/ K. Tom Kohan
                                                 K. Tom Kohan
12
                                                 Attorneys for Plaintiff
13                                               COASTAL CORPORATION LTD.
14
15                                DEMAND FOR JURY TRIAL
16         Plaintiff hereby demands a jury trial as to all issues.
17   DATED: April 22, 2022                   Respectfully submitted,
18                                           KOHAN LAW FIRM
                                               /s/ K. Tom Kohan
19
                                               K. Tom Kohan
20                                             Attorneys for Plaintiff
                                               COASTAL CORPORATION LTD.
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                                    COMPLAINT FOR DAMAGES
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